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UNITED sTATEs DISTRICT coURT ‘ ‘ ‘~- D»C:
WESTERN DIsTRlCT 0F TENNESSEE 05 AUG l l pa 1,.
Western Division ' 214

UNITED STATES OF AMERICA

 

-v- Case No. 2:05cr20097-001Ma
DENISE ROBINSON

 

ORDER SETTlNG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Offrce, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignrnent in the United States Courthouse and
Federal Building in Courtroom Courtroom # on Day, Date, at Tirne.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Unsecured Financial Condition

0 The defendant executes an unsecured bond binding the defendant to pay the United States the sum of $4500
in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed

0 report as directed by the Pretrial Services Office.

0 Maintain or actively seek employment

0 Surrender any passport to Clerk, U.S. District Court. The defendant is allowed to retrieve her passport to

allow travel out of the country on trips beginning November 5, 2005 and December 22, 2005, and is to return
her passport to the Clerk’s Oftice following each trip; and is to obtain no new passport

ADV|CE OF PENALT|ES AND SANCT|ONS

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with sale 55 and/or 321¢3) FRCrP on ' ‘

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TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOWING PENALT|ES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a tenn of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you rnay be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. l promise
to obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed I am aware
l

of the penalties and sanctions set forth above.
;LMA,D RD

Signature of Defendant

Denise Robinson

625 W. Jackson, Un.it 208
Chicago, IL 60661-5610
312-669-1740

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DlRECTIONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processingl

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release, The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

C§"'"'_
Date: August 10, 2005 . /

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20097 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

Frederick H. Godvvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

